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                           IN THE UNITED STATES DISTRICT COURT
                               FOR THE DISTRICT OF NEBRASKA
UNITED STATES OF AMERICA,                         )
                                                  )
                       Plaintiff,                 )
                                                  )                     8:11CR43
               vs.                                )
                                                  )                     ORDER
MIRANDA RUIZ,                                     )
                                                  )
                       Defendant.                 )

       Defendant Miranda Ruiz (Ruiz) appeared before the court on June 29, 2015, on the Petition
for Warrant or Summons for Offender Under Supervision (Petition) (Filing No. 303). Ruiz was
represented by Assistant Federal Public Defender Kelly Steenbock and the United States was
represented by Assistant U.S. Attorney Jeremy Anderson. Through her counsel, Ruiz waived her
right to a probable cause hearing on the Petition pursuant to Fed. R. Crim. P. 32.1(a)(1). I find that
the Petition alleges probable cause and that Ruiz should be held to answer for a final dispositional
hearing before Chief Judge Laurie Smith Camp.
       The government moved for detention. Ruiz declined to present any evidence or request a
detention hearing. Since it is Ruiz’s burden under 18 U.S.C. § 3143 to establish by clear and
convincing evidence that she is neither a flight risk nor a danger to the community, the court finds
Ruiz has failed to carry her burden and that Ruiz should be detained pending a dispositional hearing
before Chief Judge Smith Camp.
       IT IS ORDERED:
       1.      A final dispositional hearing will be held before Chief Judge Laurie Smith Camp in
Courtroom No. 2, Third Floor, Roman L. Hruska U.S. Courthouse, 111 South 18th Plaza, Omaha,
Nebraska, at 11:00 a.m. on August 20, 2015. Defendant must be present in person.
       2.      Defendant Miranda Ruiz is committed to the custody of the Attorney General or his
designated representative for confinement in a correctional facility;
       3.      Defendant shall be afforded a reasonable opportunity for private consultation with
defense counsel; and
       4.      Upon order of a United States court or upon request of an attorney for the
government, the person in charge of the corrections facility shall deliver defendant to the United
States Marshal for the purpose of an appearance in connection with a court proceeding.
       DATED this 29th day of June, 2015.

                                                      BY THE COURT:

                                                      s/ Thomas D. Thalken
                                                      United States Magistrate Judge
